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                                                                      ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                          DOC#:
SOUTHERN DISTRICT OF NEW YORK                                         DATE FILED: 1/11/2021

 JENISA ANGELES, on behalf of herself and
 all other persons similarly situated,
                                                                      20-CV-8967 (RA)
                                  Plaintiff,
                                                                           ORDER
                          v.

 AMIGOFOODS CORP.,

                                  Defendant.

RONNIE ABRAMS, United States District Judge:

         On October 27, 2020, Plaintiff Jenisa Angeles brought this action alleging violations of the

Americans with Disabilities Act (“ADA”). On October 30, 2020, the Court ordered the parties to

submit a joint letter requesting that the Court either (1) refer the case to mediation or a magistrate

judge (and indicate a preference between the two options), or (2) schedule an initial status conference

in the matter within forty-five days of the service of the summons and complaint.

         Plaintiff has not since filed proof of service on the docket, nor has the Court received any

response from the parties. No later than January 25, 2021, Plaintiff shall file a letter updating the

Court on the status of this case. If, however, Plaintiff does not respond to this Order, the Court may

dismiss this action for failure to prosecute pursuant to Federal Rule of Civil Procedure 41(b).



SO ORDERED.
Dated:      January 11, 2021
            New York, New York

                                                     Ronnie Abrams
                                                     United States District Judge
